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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

SONOS, INC.,                                      §
                                                  §
                   Plaintiff,                     §
                                                  §
       v.                                         §
                                                         NO. 6:20-cv-00881-ADA
                                                  §
GOOGLE LLC,                                       §      JURY TRIAL DEMANDED
                                                  §
                   Defendant.
                                                  §

                      JOINT CLAIM CONSTRUCTION STATEMENT
TO THE HONORABLE COURT:

       Pursuant to the scheduling orders in these cases, the Parties jointly submit this claim

construction statement.

                                           Disputed Terms

     Claim Term/Phrase                 Plaintiff’s Construction     Defendant’s Construction

 “multimedia”                        “any type of media that       Plain and ordinary meaning;
                                     comprises audio (including    no construction necessary.
 [’206 and ’615 Patents]
                                     audio alone)”
 [Proposed by Sonos]




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                                            Disputed Terms

     Claim Term/Phrase                  Plaintiff’s Construction          Defendant’s Construction

 “network interface”                 “a physical component of a          Plain and ordinary meaning;
                                     device that provides an             no construction necessary
 [’206, ’615, ’885 Patents]
                                     interconnection with a data
                                     network”
 [Proposed by Sonos]


 “playback device”                   “a data network device              Plain and ordinary meaning;
                                     configured to process and           no construction necessary
 [’206, ’615, ’033 Patents]
                                     output audio”

 “zone player”
 [’966 and ’885 Patents]
 [Proposed by Sonos]

 “zone configuration                 “configuration data that            No separate construction
 characterizes one or more           provides an indication of one or    proposed. See “zone” and
 zone scenes”                        more zone scenes”                   “zone scene” terms
 [’206 Patent]
 [Proposed by Sonos]


 “zone”                              No separate construction            “an area or areas with one or
                                     necessary.                          more playback devices”
 [’206 Patent]
 [Proposed by Google]




 “zone scene”                        No separate construction            “a group of two or more
                                     necessary; see below                zones that are grouped
 [’206 Patent]
                                     construction for term in context.   according to a common
 [Proposed by Google]                                                    theme by configuring the
                                                                         zones in a particular scene
                                                                         (e.g., morning, afternoon or
                                                                         garden)”




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                                            Disputed Terms

     Claim Term/Phrase                  Plaintiff’s Construction        Defendant’s Construction

 “zone scene identifying a           “a previously-saved grouping of   No separate construction
 group configuration                 [independent playback devices /   proposed. See “zone” and
 associated with two or more         zone players] that are to be      “zone scene” terms.
 of the plurality of                 configured for synchronous
 independent playback                playback of media when the
 devices”                            zone scene is invoked”
 [’206 Patent]
 [Proposed by Sonos]


 “[first / second] zone scene
 comprising a [first / second]
 predefined grouping of zone
 players including at least
 the first zone player and a
 [second / third] zone player
 that are to be configured for
 synchronous playback of
 media when the [first /
 second] zone scene is
 invoked”
 [’966 and ’885 Patents]
 [Proposed by Sonos]

 “group configuration”               No separate construction          Indefinite
                                     necessary.
 [’206 Patent]
 [Proposed by Google]




 “causing the selectable             Plain and ordinary meaning; no    Indefinite
 indication of the at least one      construction necessary.
 of the one or more zone
 scenes to be displayed”
 [’206 Patent]
 [Proposed by Google]




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                                            Disputed Terms

     Claim Term/Phrase                  Plaintiff’s Construction        Defendant’s Construction

 “local area network”                 “data network that               Plain and ordinary meaning;
                                     interconnects devices within a    no construction necessary.
 [’615 Patent]
                                     limited area, such as a home or
 [Proposed by Sonos]                 office”




 “cloud”                             Plain and ordinary meaning; no    “over a network”
                                     construction necessary.
 [’615 and ’033 Patents]
 [Proposed by Google]




 “a media particular                 “a media playback system”         Indefinite
 playback system”
 [’615 Patent]
 [Proposed by both Parties]



 “data network”                       “a medium that interconnects     Plain and ordinary meaning;
                                     devices, enabling them to send    no construction necessary.
 [’966, ’033, ’885 Patents]
                                     digital data packets to and
 [Proposed by Sonos]                 receive digital data packets from
                                     each other”



 “remote playback queue”             Plain and ordinary meaning; no    “remote playback queue
                                     construction necessary.           provided by a third party
 [’966, ’033, ’885 Patents]
                                                                       application”
 [Proposed by Google]




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                                            Disputed Terms

     Claim Term/Phrase                  Plaintiff’s Construction       Defendant’s Construction

 “an instruction for the at    Plain and ordinary meaning; no         “an instruction for the at least
 least one given playback      construction necessary.                one given playback
 device to take over                                                  device…”; Instruction means
 responsibility for playback                                          one instruction.
 of the remote playback
 queue from the computing
 device, wherein the
 instruction configures the at
 least one given playback
 device to”
 [’033 Patent]
 [Proposed by Google]

 “wherein the instruction            Plain and ordinary meaning; no   Indefinite
 comprises an instruction”           construction necessary.
 [’033 Patent]
 [Proposed by Google]




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